838 F.2d 471
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Frank PICCIRILLI, Plaintiff-Appellant,v.T.L. MORRIS, Superintendent, Defendant-Appellee.
    No. 87-3926.
    United States Court of Appeals, Sixth Circuit.
    Feb. 5, 1988.
    
      Before BOYCE F. MARTIN, Jr., RALPH B. GUY, Jr., and BOGGS, Circuit Judges.
    
    ORDER
    
      1
      This court entered an order on October 28, 1987, directing the appellant to show cause within 21 days of the date of the order why the appeal should not be dismissed for lack of jurisdiction.  Appellant has failed to respond.
    
    
      2
      It appears from the file that the order denying appellant's Fed.R.Civ.P. 60(b) motion was entered September 1, 1987.  The notice of appeal filed on October 2, 1987, was one day late.  Fed.R.App.P. 4(a) and 26(a).
    
    
      3
      The failure of an appellant to timely file a notice of appeal deprives an appellate court of jurisdiction.  Compliance with Fed.R.App.P. 4(a) is a mandatory and jurisdictional prerequisite which this court can neither waive nor extend.    McMillan v. Barksdale, 823 F.2d 981 (6th Cir.1987);  Myers v. Ace Hardware, Inc., 777 F.2d 1099, 1102 (6th Cir.1985);  Denley v. Shearson/American Express, Inc., 733 F.2d 39 (6th Cir.1984) (per curiam);  Peake v. First Nat'l Bank &amp; Trust Co., 717 F.2d 1016 (6th Cir.1983).  Fed.R.App.P. 26(b) specifically provides that this court cannot enlarge the time for filing a notice of appeal.
    
    
      4
      Accordingly, it is ORDERED that the appeal be and hereby is dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    